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 7

 8                             UNITED STATES DISTRICT COURT
 9                              DISTRICT COURT OF COLUMBIA
10                             (HONORABLE BERYL A. HOWELL)
11
     UNITED STATES OF AMERICA,                  )        CASE NO. 16cr00229-BAH
12                                              )
                               Plaintiff,       )
13                                              )
     v.                                         )
14                                              )        DEFENDANT’S OBJECTION TO
     RUBEN OSEGUERA-GONZALEZ,                   )        GOVERNMENT’S PROPOSED JURY
15                                              )        INSTRUCTION ON CONSPIRATOR
                               Defendant.       )        LIABILITY
16                                              )
                                                )
17                                              )
                                                )
18                                              )
19

20          TO: KATE M. NASEEF, TRIAL ATTORNEY, UNITED STATES ATTORNEY’S
                OFFICE; JONATHON HORNOK, TRIAL ATTORNEY, UNITED STATES
21              ATTORNEY’S OFFICE; AND KAITLIN SAHNI, ACTING DEPUTY CHIEF,
                UNITED STATES ATTORNEY’S OFFICE:
22
                                                    I.
23
          DEFENDANT’S OBJECTION TO THE GOVERNMENT’S PROPOSED JURY
24                 INSTRUCTION ON CONSPIRATOR LIABILITY
25          The Government has crafted its own jury instruction to address a theory of conspirator
26   liability, i.e., “Pinkerton liability,” for Count Two of the Superceding Indictment based upon
27   Pinkerton v. United States, 328 U.S. 640, 646-48 (1946) (a conspirator can be found guilty
28   of a substantive offense committed by a co-conspirator and in furtherance of the conspiracy,
                                                    1
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 1   so long as the co-conspirator’s acts are reasonably foreseeable); United States v. Washington,
 2   106 F.3d 983, 1011 (D.C. Cir. 1997). See ECF No. 161, Joint Pretrial Statement at 75. Mr.
 3   Oseguera-Gonzalez objects to this proposed instruction.
 4         As the Court is aware, on February 1, 2017, Mr. Oseguera-Gonzalez was charged in
 5   a Superseding Indictment. See ECF No. 6. The Superseding Indictment alleged that from
 6   in and around 2007, and continuing to the date of February 1, 2017, Mr. Oseguera-Gonzalez
 7   engaged in a (Count One) conspiracy to distribute 5 kilograms or more of cocaine, and 500
 8   grams or more of methamphetamine, knowing and intending that these controlled substances
 9   would be imported into the United States, in violation of 21 U.S.C. §§ 963, 959(a),
10   960(b)(1)(B)(ii), and 960(b)(1)(H), and (Count Two) that he used and possessed a
11   firearm/destructive device during the course of, and in furtherance of, the conspiracy alleged
12   in count one, in violation of 18 U.S.C. §§ 924(c)(1)(A)(I), 924(c)(1)(A)(ii), and
13   924(c)(1)(B)(ii). See id. The Superseding Indictment did not allege a Pinkerton theory of
14   liability for Count Two. “[A] Pinkerton charge should not be given as a matter of course.”
15   See United States v. Vazquez-Castro, 640 F.3d 19, 25 (1st Cir. 2011) (citing United States
16   v. Sanchez, 917 F.2d 607, 612 (1st Cir. 1990)). As Pinkerton liability is not alleged in the
17   Superseding Indictment, Mr. Oseguera-Gonzalez would object to the proposed instruction.
18         The Government, however, in requesting the proposed Pinkerton instruction
19   apparently concedes that there is no evidence that Mr. Oseguera-Gonzalez personally
20   possessed a firearm or destructive device in furtherance of the conspiracy. Pinkerton
21   liability is dependant upon the defendant not being directly involved in the substantive
22   offense. It is vicarious liability. See Pinkerton, 328 U.S. 640. If Mr. Oseguera-Gonzalez
23   personally possessed a firearm/destructive device in furtherance of the conspiracy charged
24   in Count One, then the Pinkerton charge is not relevant as the Pinkerton instruction is meant
25   to only “address the situation where the defendant did not participate directly in the acts
26   constituting the substantive offense.” See Redbook Jury Instructions for the District of
27   Columbia, Instruction 7.103 Co-Conspirator Liability, Comment at 7-16.3. In other words,
28   Mr. Oseguera-Gonzalez either did or did not possess a firearm/destructive device in
                                                   2                             16cr00229-BAH
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 1   furtherance of the conspiracy, and if he did, then the Pinkerton instruction is not applicable,
 2   and if he did not, then it would be applicable. It would be inconsistent for the Government
 3   to argue both as a person cannot possess and not possess something at the same time, and
 4   thus, fair notice requires the Government to elect a theory of liability based upon what the
 5   Government anticipates their evidence will prove or not prove.
 6         To the extent the Government elects to proceed on a Pinkerton theory of liability for
 7   Count 2 of the Superseding Indictment, the Court should use the instruction 7.103 from the
 8   Redbook used by the D.C. Circuit which is applicable when the Government is proceeding
 9   on liability on a charged conspiracy. The defendant would specifically propose the
10   following based upon instruction 7.103:
11       A conspiracy is a kind of partnership in crime and its members may be responsible
   for each other’ actions. A defendant is responsible for an offense committed by another
12 member of the conspiracy if the defendant was a member of the conspiracy when the offense
   was committed and if the offense was committed in furtherance of, and as a natural
13 consequence of, the conspiracy.

14        In order to find Mr. Ruben Oseguera-Gonzalez guilty of Count Two which alleges
   that he did knowingly and intentionally use, carry and brandish firearms, including
15 destructive devices, during and in relation to, and in furtherance of, the crime alleged in
   Count One, a conspiracy to knowingly, intentionally, and willfully distribute controlled
16 substances intended to be unlawfully imported into the United States, you must find beyond
   a reasonable doubt that:
17
           1.        There was a conspiracy as alleged in Count One to knowingly,
18                   intentionally, and willfully distribute controlled substances intended to be
                     unlawfully imported into the United States; and
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           2.        The offense alleged in Count Two of knowingly and intentionally using,
20                   brandishing firearms and destructive devices was committed by a co-
                     conspirator and member in the alleged conspiracy in Count One for which
21                   you must find Mr. Ruben Oseguera-Gonzalez was also a member; and
22         3.        Mr. Ruben Oseguera-Gonzalez was a member of the conspiracy to
                     distribute controlled substances intended to be unlawfully imported into the
23                   United States as alleged in Count One, at the time the offense alleged in
                     Count Two, knowingly and intentionally using, brandishing firearms and
24                   destructive devices was committed by a co-conspirator and member of the
                     conspiracy alleged in Count One; and
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           4.        The offense alleged in Count Two of knowingly and intentionally using,
26                   brandishing firearms and destructive devices was committed during the
                     existence of the conspiracy alleged in Count One; and
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                                                   3                              16cr00229-BAH
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 1         5.         The offense alleged in Count Two of knowingly and intentionally using,
                      brandishing firearms and destructive devices was committed in furtherance
 2                    of the conspiracy alleged in Count One; and
 3         6.         The offense alleged in Count Two of knowingly and intentionally using,
                      brandishing firearms and destructive devices was a reasonably foreseeable
 4                    consequence of the conspiracy alleged in Count One. It is not necessary to
                      find that the crime was intended as part of the original plan, only that it was
 5                    a foreseeable consequence of the original plan.
 6   See Redbook Instruction 7.103.
 7         As an alternative to the above, Mr. Oseguera-Gonzalez would propose an instruction
 8   that follows the First Circuit’s Pinkerton instruction 4.18.371(2), Pinkerton Charge,1 and
 9   might very well be a more concise instruction than Redbook instruction 7.103.
10                                         CONCLUSION
11         For the reasons stated above, Mr. Oseguera-Gonzalez moves this Court to grant his
12   request.
13                                               Respectfully submitted,
14                                               /s/ Anthony E. Colombo, Jr.
15   Dated: August 30, 2024                      ANTHONY E. COLOMBO, JR.
16                                               Attorney for Mr. Oseguera-Gonzalez
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          This filing is meant to replace Defendant’s previously filed objection, ECF Nos. 181,
           1

26 and 186, which attempted to attach as Exhibit A - First Circuit’s Pinkerton Instruction.
27
   Unfortunately, Exhibit A was corrupted and could not be downloaded. Defendant instead
   has provided a courtesy copy of the First Circuit’s instruction to the Court’s courtroom
28 deputy.

                                                    4                             16cr00229-BAH
